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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                          1/16/2025

PRIMITIVO ROBLES,

                       Plaintiff,                    ORDER FOR CONFERENCE
                                                     PURSUANT TO RULE 16
              -v-
                                                     24-CV-7479 (JHR) (HJR)
GREEN FLAMINGO DISPENSARY,

                       Defendant.


HENRY J. RICARDO, United States Magistrate Judge.

      The Court shall hold a case management conference on February 6, 2025, at

11:00 a.m. by telephone. Counsel should contact chambers using the Court’s

conference line, +1 646-453-4442 (Conference ID: 616528859#).

      In preparation for and while engaging in a teleconference, please follow these

guidelines:

      1. Use a landline whenever possible.
      2. Use handset rather than speakerphone.
      3. Identify yourself each time you speak.
      4. Be mindful that, unlike in a courtroom setting, interrupting can render
      both speakers unintelligible.
      5. Mute when not speaking to eliminate background noise and prevent
      interruptions.
      6. Avoid voice-activated systems that don’t allow speaker to know when
      someone else is trying to speak and that cut off the beginning of words.

      Upon receipt of this order, counsel are directed to confirm with all other

counsel that each party to this proceeding has received a copy of this order. Please

note that the Federal Rules of Civil Procedure require the parties to confer before

this conference to discuss the matters set forth in Fed. R. Civ. P. 26(f). Additionally,

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the parties must exchange initial disclosures required by Fed. R. Civ. P. 26(a)(1) in

advance of the conference. Finally, counsel of record must attend the conference. If

counsel of record has not filed a notice of appearance, they must do so by the date of

the conference.

      At the case management conference, the parties must be prepared to discuss

the subjects set forth in subdivisions (b) and (c) of Rule 16. To fulfill the

requirement of Fed. R. Civ. P. 26(f) that the parties submit a proposed discovery

plan, the parties shall send by email to RicardoNYSDChambers@nysd.uscourts.gov

no later than two business days before the initial case management conference, a

“Proposed Scheduling Order,” in a Word document format, using the “Template for

Proposed Case Management Plan and Scheduling Order” available at

https://nysd.uscourts.gov/hon-henry-j-ricardo.

      To the extent the parties disagree on the dates or other terms of the proposed

schedule, such disagreement may be noted in the document. In addition, prior to

submitting their case management plan, the parties are directed to discuss whether

they will be taking depositions remotely or in person, or some combination, and

should indicate as much in the proposed case management plan.

      Any application for a change in the date of the conference must be made by

letter-motion filed on ECF within five days of this order, unless there is good cause

justifying a later application. Prior to requesting an adjournment, the party

making the request should contact the Deputy Clerk, Roberto Diaz,



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Roberto Diaz@nysd.uscourts.gov, to determine alternative dates on which the Court

is available for a rescheduled court appearance. The party must then request an

adjournment by letter-motion that includes (1) a statement as to all other parties’

positions on the proposed change in date and (2) a proposal for an alternative date

for the conference (as provided by the Deputy Clerk) for which all parties are

available.

SO ORDERED.

Dated: 1/16/2025
       New York, New York
                                              __________________________________
                                              Henry J. Ricardo
                                              United States Magistrate Judge




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